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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                           UNITED STATES DISTRICT COURT                                   July 25, 2023
                            SOUTHERN DISTRICT OF TEXAS                                 Nathan Ochsner, Clerk
                                HOUSTON DIVISION


RACHEL CORINA LUNA,                              §
                                                 §
        Plaintiff,                               §
                                                 §
VS.                                              §   CIVIL ACTION NO. 4:22-CV-01151
                                                 §
NATIONS DIRECT MORTGAGE, LLC,                    §
                                                 §
        Defendant.                               §


                                     FINAL JUDGMENT
       On July 24, 2023, the Court dismissed this case for failure to prosecute. (Doc. 21.) Pursuant

to Federal Rule of Civil Procedure 58(a), final judgment is hereby ENTERED for Defendant.

       IT IS SO ORDERED.

        Signed at Houston, Texas on July 24, 2023.


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                                                      Keith P. Ellison
                                                      United States District Judge




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